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  United States Court of Appeals
                                  for the

                       Fifth Circuit
                            Case No. 23-40217

TEXAS MEDICAL ASSOCIATION; TYLER REGIONAL HOSPITAL, L.L.C.;
                 DOCTOR ADAM CORLEY,
                                                          Plaintiffs-Appellees,
                                   – v. –
 UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES;
DEPARTMENT OF LABOR; DEPARTMENT OF THE TREASURY; XAVIER
 BECERRA, Secretary, U.S. Department of Health and Human Services; JULIE
A. SU, Acting Secretary, U.S. Department of Labor; JANET YELLEN, Secretary,
                         U.S. Department of Treasury,
                                                      Defendants-Appellants.
                    ––––––––––––––––––––––––––––––
               (For Continuation of Caption See Inside Cover)
                    ––––––––––––––––––––––––––––––
      ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR
        THE EASTERN DISTRICT OF TEXAS, CASE NO. 6:22-CV-372
     HONORABLE JEREMY DANIEL KERNODLE, U.S. DISTRICT JUDGE


  BRIEF FOR AMICUS CURIAE BLUE CROSS BLUE SHIELD
ASSOCIATION IN SUPPORT OF APPELLANTS AND REVERSAL




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          LIFENET, INCORPORATED; EAST TEXAS AIR ONE,
                                                      Plaintiffs-Appellees,
                                 – v. –
 UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES;
XAVIER BECERRA, Secretary, U.S. Department of Health and Human Services;
 UNITED STATES DEPARTMENT OF THE TREASURY; JANET YELLEN,
Secretary, U.S. Department of Treasury; UNITED STATES DEPARTMENT OF
 LABOR; JULIE A. SU, Acting Secretary, U.S. Department of Labor; UNITED
   STATES OFFICE OF PERSONNEL MANAGEMENT; KIRAN AHUJA,
                                                   Defendants-Appellants.
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      SUPPLEMENTAL CERTIFICATE OF INTERESTED PERSONS

       Pursuant to Fifth Circuit Rule 29.2, the undersigned counsel of record

certifies that the following listed persons and entities, in addition to those listed in

the parties’ briefs, have an interest in the outcome of this case. These

representations are made so that the judges of this Court may evaluate possible

disqualification or recusal.

       Amicus curiae: Blue Cross Blue Shield Association is a non-profit entity

with no parent corporation, and no publicly traded corporation has an ownership

interest in it of any kind.

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Myers LLP.


                                                     /s/ K. Lee Blalack, II
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                       INTEREST OF AMICUS CURIAE1

      The Blue Cross Blue Shield Association (“BCBSA”) is the non-profit

association that promotes the national interests of thirty-four independent,

community-based, and locally operated Blue Cross Blue Shield health insurance

companies (“Blue Plans”). Together, the Blue Plans provide health insurance for

over 115 million people—one in three Americans—in every zip code in all fifty

states, the District of Columbia, and Puerto Rico. Blue Plans offer a variety of

health insurance products to all segments of the population, including federal

employees, large employer groups, small businesses, and individuals. As leaders

in the healthcare community for more than eighty years, Blue Plans seek to expand

access to quality healthcare for all Americans and have extensive knowledge of

and experience with the health insurance marketplace. BCBSA supports

Congress’s efforts to remedy distortions in the market for healthcare services and

restrain costs for patients, including those enrolled in Blue Plans, through the No

Surprises Act (the “Act”). BCBSA has an interest in advising the Court regarding

the manner in which the final rule issued in August 2022 (the “Final Rule”) will

further Congress’s efforts to remedy those market distortions.



      1
        All parties have consented to the filing of this brief. No counsel for a party
authored any part of this brief. No party, party’s counsel, or any person other than
amicus curiae, its members, or its counsel contributed money intended to finance
the preparation or submission of this brief.
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                                 INTRODUCTION

       The Final Rule specifies the process by which arbitrators should select the

appropriate payment under the Act for services rendered to patients by certain

healthcare providers who do not participate in the provider networks offered by the

patients’ health insurers or health plans (“out-of-network providers”). The Final

Rule reflects the Departments’2 diligent efforts to faithfully implement the intent of

Congress when it sought to end so-called “surprise billing,” which occurs “when a

consumer covered by a health plan is unexpectedly treated by an out-of-network

provider and is required to pay the difference between what the plan pays and the

provider’s charge,” often amounting “to thousands of dollars of unforeseen

medical costs.” H.R. Rep. No. 116-615, pt. I, at 47 (Dec. 2, 2020). The Act

applies (1) when patients receive emergency medical care from out-of-network

providers; and (2) when patients receive ancillary medical care from out-of-

network physicians but at a facility, such as a hospital, that participates in the

provider network of the patients’ health plan. See 42 U.S.C. §§ 300gg-131, 300gg-

132.




       As used herein, the “Departments” collectively refers to the institutional
       2

defendant-appellants in this action: the U.S. Department of Health and Human
Services (“HHS”), the U.S. Department of Labor, the U.S. Department of the
Treasury, and the Office of Personnel Management.
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      Congress recognized that surprise billing was becoming an increasingly

common practice in the healthcare market and that all patients were paying the

price. See H.R. Rep. No. 116-615, pt. I, at 53-55. A minority of emergency

medicine providers and hospital-based physicians (“Surprise Billers”) have

unfairly leveraged their patients’ inability to choose which providers render care in

these settings to charge exorbitant rates. Indeed, data shows that many Surprise

Billers charge grossly inflated rates, in some instances demanding more than

1,000% of the payments remitted by the Medicare program for the exact same

services. In the Act, Congress carefully considered the interests of healthcare

providers, payors, and, above all, patients. It balanced those interests in designing

an independent dispute resolution (“IDR”) process to resolve payor-provider

disputes, including by designating the qualifying payment amount (“QPA”) as a

central consideration in that IDR process. The QPA is the median payment rate

allowed by the health insurer or health plan for the same service to its network of

contracted providers. Congress instructed IDR entities adjudicating these payment

disputes to consider information in two provisions of the Act: (I) the QPA, and (II)

“subject to” certain limitations, a range of “additional information” specified in

various other provisions of the Act, should the parties choose to submit any such

information to the IDR entity or the entity chooses to request it. 42 U.S.C.

§ 300gg-111(c)(5)(C)(i). These two statutory provisions—one dedicated


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exclusively to the QPA and that must be considered in all arbitrations, and one

addressing other permissible information that IDR entities must consider only if a

party affirmatively submits it or the IDR entity itself specifically requests it—

reflect the considered judgment of Congress that the QPA ordinarily represents a

reasonable value for healthcare services covered by the Act.

      In the statute, Congress also directed the Departments to “establish by

regulation one independent dispute resolution process”—in other words, to

promulgate regulations giving IDR entities more concrete guidance to ensure

predictability and consistency in arbitrations under the Act. Id. § 300gg-

111(c)(2)(A). Pursuant to that congressional directive, in September 2021, the

Departments promulgated an interim final rule (the “IFR”) that among other things

instructed IDR entities adjudicating covered payment disputes to start from a

presumption favoring the offer closest to the QPA. See 45 C.F.R.

§ 149.510(c)(4)(ii)(A) (2021). BCBSA respectfully submits that the Departments

exercised lawful authority in promulgating the IFR, including the presumption in

favor of the QPA, and that the IFR comported with the congressional intent

underlying the Act. The district court, however, disagreed and vacated the portions

of the IFR that it deemed to impermissibly favor the QPA. See Tex. Med. Ass’n v.

U.S. Dep’t of Health & Hum. Servs. (“TMA I”), 587 F. Supp. 3d 528 (E.D. Tex.

2022).


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      The Departments heeded the district court’s guidance and ultimately chose

not to include any comparable provisions privileging the QPA when promulgating

new regulations. In contrast to the IFR, the Final Rule simply instructs arbitrators

as follows: “The certified IDR entity must select the offer that the certified IDR

entity determines best represents the value of the qualified IDR item or service as

the out-of-network rate.” 45 C.F.R. § 149.510(c)(4)(ii)(A) (2022). The district

court, however, concluded that the “Final Rule nevertheless continues to place a

thumb on the scale for the QPA,” primarily “by requiring arbitrators to begin with

the QPA” and then consider the other information submitted by the parties, and

thus “impermissibly alter[s] the Act’s requirements.” Tex. Med. Ass’n v. U.S.

Dep’t of Health & Hum. Servs. (“TMA II”), -- F. Supp. 3d --, 2023 WL 1781801, at

*11 (E.D. Tex. Feb. 6, 2023). That conclusion is unfounded. Congress expressly

directed the Departments to create uniform guidelines to govern arbitrations under

the Act, and the Final Rule’s requirement for IDR entities to consider the QPA at

the outset of their analysis—again, without restricting their ultimate discretion and

requiring them to finally select whichever offer they deem most appropriate—is

entirely consistent with the congressional judgment codified in the Act.

      Indeed, empirical evidence shows that there are sound policy reasons for

IDR entities to start with the QPA—the best reflection of fair market prices—as

Congress recognized when it passed the Act. Congress understood that the status


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quo is a market highly susceptible to distortion by the inability of patients to

choose providers of emergency medicine and ancillary hospital-based services

based on cost, and that Surprise Billers have exploited that opportunity in a manner

that has inflated healthcare costs for all patients. Congress rejected that status quo,

including, importantly, by drafting the Act to contemplate a central role for the

QPA in the IDR process. The Final Rule’s requirement for arbitrators to start with

the QPA—to the extent that such an order-of-operations affects outcomes of the

IDR process at all—will help to ensure that patients enjoy the benefits that

Congress intended. Plaintiffs and their amici have contended that these benefits

would come at steep costs to the breadth of provider networks and, consequently,

patients’ access to needed care. But market-based incentives and network

adequacy requirements codified in state and federal laws ensure that provider

networks will remain sufficiently broad to meet patients’ needs, as empirical

evidence from states that have implemented similar measures confirms.

                                    ARGUMENT

I.    THE QPA REFLECTS THE REASONABLE VALUE OF
      HEALTHCARE SERVICES.

      The Act defines the QPA as “the median of the contracted rates recognized

by the plan or issuer … for the same or a similar item or service that is provided by

a provider in the same or similar specialty and provided in the geographic region in

which the item or service is furnished”—in other words, the median contracted

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rate. 42 U.S.C. § 300gg-111(a)(3)(E). The QPA must be calculated as of January

31, 2019, using a methodology that Congress directed the Departments to

establish, and then adjusted over time for inflation, id.; the Act also provides that

health plans are subject to audit by the Secretary of HHS to ensure that they

comply with the rules for calculating and applying their QPAs, id. § 300gg-

111(a)(2)(A). When the Departments promulgated the IFR, they explained that the

Act codified Congress’s judgment that the QPA “represents a reasonable market-

based payment for relevant items and services.” Requirements Related to Surprise

Billing: Part II, 86 Fed. Reg. 55,980, 55,996 (Oct. 7, 2021); see also Requirements

Related to Surprise Billing, 87 Fed. Reg. 52,618, 52,623 (Aug. 26, 2022)

(observing that “[m]any commenters supported the approach set forth in the” IFR

for reasons including that “the QPA represents a reasonable, market-based rate” for

healthcare services). Indeed, the median contracted rates reflected in the QPA

represent the best evidence of true “market” prices for healthcare services; thus, as

“the statute contemplates,” “typically the QPA will be a reasonable out-of-network

rate.” 86 Fed. Reg. at 55,996.

      The reasonable market value of a good or service “is ‘the price that [it]

would bring by bona fide bargaining between well-informed buyers and

sellers,’”—that is, “the price [it] would sell for in an arm’s length, open-market

transaction.” New Eng. Deaconess Hosp. v. Sebelius, 942 F. Supp. 2d 56, 59


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(D.D.C. 2013) (quoting 42 C.F.R. § 413.134(b)(2)). Median contracted rates

typically represent reasonable market values because they “are established through

arms-length negotiations between providers and facilities and plans and issuers (or

their service providers).” 86 Fed. Reg. at 55,996. Contracted rates account for the

vast majority of transactions in the private healthcare market: most patients receive

care from providers who participate in a payor’s network rather than on an out-of-

network basis, even among healthcare specialties in which patients are most likely

to receive care from out-of-network providers.3 Congress understood that median

contracted rates reflect reasonable market values. Each of the congressional

committees that reported bills that ultimately resulted in the passage of the Act

“determined the QPA to be a reasonable, market-based rate” and “included the

QPA as the primary rate that IDR entities should consider when making

decisions.”4 The Departments applied this congressional judgment in the IFR,

declaring that “the QPA should reflect standard market rates arrived at through




      3
        See Jean Fuglesten Biniek et al., How Often Do Providers Bill Out of
Network?, Health Care Cost Inst. (May 28, 2020), https://tinyurl.com/3jfj62nm;
Kevin Kennedy et al., Surprise Out-of-Network Medical Bills During In-Network
Hospital Admissions Varied by State and Medical Specialty, 2016, Health Care
Cost Inst. (Mar. 28, 2019), https://tinyurl.com/ymweu794.
      4
        Letter from Sen. Patty Murray & Rep. Frank Pallone, Jr. to Sec’y Xavier
Becerra, at 4 (Jan. 7, 2022); see H.R. 2328, 116th Cong. (2019); S. 1895, 116th
Cong. (2019); H.R. 5800, 116th Cong. (2020); H.R. 5826, 116th Cong. (2020).
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typical contract negotiations and should therefore be a reasonable out-of-network

rate under most circumstances.” 86 Fed. Reg. at 55,996.

      While the Act permits IDR entities to consider certain information other than

the QPA, it prohibits consideration of a few specified criteria, and comparing these

prohibited considerations with the QPA illustrates nicely why Congress concluded

that the QPA represents a reasonable market rate. The Act directs that arbitrators

“shall not consider usual and customary charges” or “the amount that would have

been billed” by the provider if not limited by the Act. 42 U.S.C. § 300gg-

111(c)(5)(D). Billed charges do not represent reasonable market values because

they reflect rates unilaterally demanded by a healthcare provider rather than rates

that a payor and provider have negotiated. “Usual and customary” charges suffer

from the same flaw: a “usual and customary” charge under the Act “refers to the

amount providers in a geographic area usually charge for the same or similar

medical service.” 86 Fed. Reg. at 55,999.5 There is often “a big difference

between usual and customary charges and the usual and customary amount that

providers actually get paid”—in other words, the true market rate.6 On the other


      5
         See Loren Adler et al., Understanding the No Surprises Act, USC-
Brookings Schaeffer Initiative for Health Pol’y (Feb. 4, 2021),
https://tinyurl.com/5n7kr99p (noting that usual and customary charges are typically
based on “unilaterally set” billed charges).
       6
         George A. Nation III, Taking Advantage of Patients in an Emergency:
Addressing Exorbitant and Unexpected Ambulance Bills, 62 Vill. L. Rev. 747, 750
(2017).
                                          9
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hand, the Act prohibits IDR entities from selecting traditional Medicare or other

government-mandated payment rates. 42 U.S.C. § 300gg-111(c)(5)(D).

Traditional Medicare, like other public health plans, “sets prices administratively

in an attempt to reflect efficient costs.”7 Thus, Congress prohibited IDR entities

from considering payment amounts set unilaterally—whether by healthcare

providers or traditional Medicare and other government benefit programs—and

instead required them to consider payment rates determined through bilateral,

private-market negotiations: the median contracted rates embodied in the QPA.8

      Contracted rates are not unilaterally dictated by health insurers and health

plans, as plaintiffs and their amici have suggested.9 Robust empirical evidence

shows that contracted rates—negotiated by private parties in the marketplace—for

both facilities and physicians vary significantly across and within geographic

markets and medical specialties, both absolutely and relative to the rates paid by

Medicare. A recent study found that the mean contracted rate for a hip

replacement in the New York metropolitan area, for example, was more than twice



      7
         Erin Duffy et al., Surprise Medical Bills Increase Costs for Everyone, Not
Just for the People Who Get Them, USC-Brookings Schaeffer Initiative for Health
Pol’y (Oct. 2, 2020), https://tinyurl.com/8647t36a.
       8
         See Julie Appleby, Here’s What the New Ban on Surprise Medical Billing
Means for You, NPR (Dec. 30, 2021), https://tinyurl.com/v4ed53c6.
       9
         See, e.g., Br. of Am. Soc’y of Anesthesiologists et al. as Amici Curiae at
13, TMA II (No. 6:22-cv-00372) (E.D. Tex. Oct. 19, 2022), ECF No. 53
(suggesting that “the Final Rule … favors rates unilaterally set by insurers”).
                                          10
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as much as the mean contracted rate for the same procedure in the Baltimore area,

and that contracted rates for outpatient lower back MRIs varied drastically within

the Miami area, with rates of under $200 at the 25th percentile and more than

$1,400 at the 75th percentile.10 Another study likewise found significant variations

in the ratio of average private contracted rates to Medicare rates both between and

within geographic areas and medical specialties.11 This substantial variance in

average contracted rates dispels any argument that health insurers set those rates by

fiat, because such variations occur when prices are determined through individual

negotiations rather than unilateral price setting.12 Payors and healthcare providers

negotiate contracted rates, and ample evidence shows that median contracted rates

are the best available measure of the reasonable value of healthcare services for

patients.




      10
          Nisha Kurani et al., Price Transparency and Variation in U.S. Health
Services, Peterson-KFF Health Sys. Tracker (Jan. 13, 2021),
https://tinyurl.com/2jb3xyhk.
       11
          See generally Paul B. Ginsburg, Wide Variation in Hospital and Physician
Payment Rates Evidence of Provider Market Power, Ctr. for Studying Health Sys.
Change, Rsch. Br. No. 16 (Nov. 2010), https://tinyurl.com/2d8yfhkb.
       12
          See, e.g., Sarah L. Barber et al., Price Setting and Price Regulation in
Health Care 29-30, World Health Org. (2019), https://tinyurl.com/mw6y8p2t.
                                         11
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II.   CONGRESS UNDERSTOOD THE UTILITY OF THE QPA
      FOR CURBING FURTHER DISTORTIONS IN THE MARKET
      FOR HEALTHCARE SERVICES AND RESTRAINING
      HEALTHCARE COSTS FOR PATIENTS, AND THE FINAL
      RULE EFFECTUATES THIS CONGRESSIONAL INTENT.

      Because the QPA is tied to the median contracted rates from 2019 and then

adjusted for inflation, the market distortions caused by surprise billing, and the

inflated payment rates that have resulted, are already baked into the IDR process

established by the Act. Requiring IDR entities to consider the QPA in all

arbitrations—as the Act itself does, independently of the Final Rule, see 42 U.S.C.

§ 300gg-111(c)(5)(C)—will further Congress’s goal of preventing future market

distortions and restraining costs for patients. The Final Rule’s directive that

arbitrators must start their analysis with the QPA merely reinforces this

congressional intent.

      The other aspects of the Final Rule that the district court invalidated

similarly reflect reasonable procedural guidelines consistent with the Act. In

particular, the district court objected to the Final Rule’s instruction that arbitrators

should not give weight to “information relating to the non-QPA factors that

happens to be ‘already accounted for’ in the QPA.” TMA II, 2023 WL 1781801, at

*12 (quoting 45 C.F.R. § 149.510(c)(4)(iii)(E)). This objection is baseless. The

Final Rule merely directs arbitrators to avoid weighting any duplicative

information, whether it is “already accounted for by the [QPA] … or other credible


                                           12
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information” submitted by the parties. 45 C.F.R. § 149.510(c)(4)(iii)(E). This

sensible requirement ensures that arbitrators do not tip the scales in either party’s

favor by double-counting certain information—and the district court did not

explain what language in the Act would suggest that this logical rule is inconsistent

with the text.

      A.     Surprise Billers have commanded above-market rates by
             exploiting the inability of their patients to choose alternative
             healthcare providers, and this minority of providers in specialties
             covered by the Act has had an outsized impact on the payment
             rates for those services.

      Congress passed the No Surprises Act to correct an increasingly worrying

“failure in the health care market.” H.R. Rep. No. 116-615, pt. I, at 53. Most

healthcare providers negotiate contracted rates with health plans and offer their

services to members of those plans at the negotiated rates.13 But market distortions

have caused some “providers—particularly in certain specialties—to have little or

no incentive to contract to join a health plan’s network.” Id. Some providers “face

highly inelastic demands for their services because patients lack the ability to

meaningfully choose or refuse care”14: patients rarely ask if a physician or facility


      13
         See, e.g., Loren Adler et al., State Approaches to Mitigating Surprise Out-
of-Network Billing 4, USC-Brookings Schaeffer Initiative for Health Pol’y (Feb.
2019), https://tinyurl.com/2m8385a6.
      14
         Inelastic demand is present when higher prices for a good or service do
not deter buyers from purchasing the good or service, such as when buyers lack
meaningful options between sellers. See, e.g., Kleen Prods. LLC v. Ga.-Pac. LLC,
910 F.3d 927, 931 (7th Cir. 2018).
                                          13
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has contracted with their health plans before receiving urgent care in the

emergency room, or when treated by ancillary hospital-based physicians, like

radiologists and anesthesiologists, that patients seldom choose themselves. Id. In

the years before Congress passed the Act, growing numbers of Surprise Billers

began exploiting their patients’ lack of choice to increase their own charges and

payment rates. See Appellants’ Br. at 5-8. While Surprise Billers represent a

minority of providers, their outsized impact on the market has led to “highly

inflated payment rates” in these specialties; Congress found that “the median billed

charge for emergency medicine is 465 percent of the Medicare rate,” for example,

while the median billed charges for diagnostic radiology and anesthesiology are

402% and 551% of Medicare rates, respectively. H.R. Rep. No. 116-615, pt. I, at

53.15 Average billed charges in these specialties exceed Medicare rates by far

greater margins than average billed charges in other specialties.16 Even the




      15
          Studies have similarly shown that hospitals’ billed charges for emergency
services have grown at a faster rate than hospitals’ billed charges for non-
emergency services. See Robert Murray, Hospital Charges and the Need for a
Maximum Price Obligation Rule for Emergency Department & Out-of-Network
Care, Health Affairs Forefront (May 16, 2013), https://tinyurl.com/4jfcy69a.
       16
          See Adler et al., supra n.13, at 7, https://tinyurl.com/2m8385a6; see also
Tim Xu et al., Variation in Emergency Department vs. Internal Medicine Excess
Charges in the United States, 177(8) JAMA Internal Med. 1139 (Aug. 1, 2017),
https://tinyurl.com/mr3eju3m (finding that some emergency medicine providers
charge as high as 12.6 times the Medicare rate).
                                          14
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average billed charges for certain procedures have run as much as 1,000% of

Medicare rates.17

      The inelastic demand for emergency and hospital-based services, in short,

allows Surprise Billers “to bill out-of-network patients at basically whatever rate

they choose, which in turn allows them to negotiate very high rates when they do

come in-network,” leading to higher average contracted rates across the specialties

most associated with surprise billing.18 While average contracted rates for all

physicians represented 128% of original Medicare rates in 2018, the average

contracted rates of the specialties most associated with surprise billing represented

significantly higher multiples of the Medicare rate: 200% for radiologists, 306%

for emergency physicians, and 344% for anesthesiologists.19 The comparatively

higher contracted rates in these specialties were rooted in the ability of Surprise

Billers to balance bill their patients in the out-of-network setting20—and some

Surprise Billers openly embraced that they relied on the threat of “balance billing”


      17
          See Charges Billed by Out-of-Network Providers: Implications for
Affordability 4, AHIP Ctr. for Pol’y & Rsch. (Sept. 2015),
https://tinyurl.com/mejaed9m.
       18
          Loren Adler et al., Breaking Down the Bipartisan Senate Group’s New
Proposal to Address Surprise Billing, USC-Brookings Schaeffer Initiative for
Health Pol’y (May 21, 2019), https://tinyurl.com/bdwwdxus; see also Glenn
Melnick & Katya Fonkych, Regulating Out-of-Network Hospital Emergency
Prices: Problem and Potential Benchmarks, Health Affairs Forefront (Mar. 23,
2020), https://tinyurl.com/4bfjy8wt.
       19
          Adler et al., supra n.18, https://tinyurl.com/bdwwdxus.
       20
          Duffy et al., supra n.7, https://tinyurl.com/8647t36a.
                                          15
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as a “source of contract negotiating leverage” with health insurers.21 Congress

passed the Act fully aware of evidence that Surprise Billers use the threat of

balance billing to charge “highly inflated payment rates,” which “are, in turn,

reflected in the cost of in-network care.”22 H.R. Rep. No. 116-615, pt. I, at 53.

      B.     Private equity groups have fueled the growth of surprise billing.

      Private equity groups in particular have been a driving force in the growth of

surprise billing and the resulting inflation of payment rates for healthcare

services.23 As Congress recognized, “the financial opportunity from inflated out-


      21
          Letter from TeamHealth Holdings, Chief Executive Officer, to U.S.
Senate Bi-Partisan Workgroup on Surprise Medical Billing, at 1 (Mar. 13, 2019),
https://tinyurl.com/4r88zmbj; see also Caitlin Owens, TeamHealth Sent Thousands
of Surprise Medical Bills in 2017, Axios (Dec. 5, 2019),
https://tinyurl.com/mujncz48.
       22
          Plaintiffs’ amici in the district court ignored this market reality when they
pointed to a letter from BlueCross BlueShield of North Carolina (“BCBS-NC”) as
an example of abusive market conduct by health insurers resulting from the IFR.
See Amicus Curiae Br. by Physicians Advoc. Inst. et al. at 12 n.19, TMA II, 2023
WL 1781801 (No. 6:22-cv-00372-JDK) (E.D. Tex. Oct. 19, 2022), ECF No. 51;
Br. of Am. Soc’y of Anesthesiologists et al. as Amici Curiae at 11-12, 14-15, TMA
II, 2023 WL 1781801 (No. 6:22-cv-00372-JDK) (E.D. Tex. Oct. 19, 2022), ECF
No. 53; Br. of Amici Curiae Am. Med. Ass’n & Am. Hosp. Ass’n at 20, TMA II,
2023 WL 1781801 (No. 6:22-cv-00372-JDK) (E.D. Tex. Oct. 19, 2022), ECF No.
54. BCBS-NC, a single-state, not-for-profit insurer, sent the letter to less than
0.001% of healthcare providers in its network—54 in total, out of well over 15,000
providers in the network. This small minority of providers maintained legacy
contracted rates that BCBS-NC sought to renegotiate based on reasonable market
rates.
       23
          See Richard M. Scheffler et al., Soaring Private Equity Investment in the
Healthcare Sector: Consolidation Accelerated, Competition Undermined, and
Patients at Risk 39 & n.143, Am. Antitrust Inst. (May 18, 2021),

                                          16
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of-network prices … has made health care an attractive market for private equity

firms.” H.R. Rep. No. 116-615, pt. I, at 53-54. Private equity firms have acquired

physician practices at increasing rates, with one study finding year-over-year

increases in practice acquisitions across the study period of 2013 (59 acquisitions)

through 2016 (136 acquisitions).24 At the same time, hospitals increasingly relied

on physician staffing companies to supply medical professionals for their

emergency departments and other needs, and private equity groups now control the

two largest staffing firms that together account for 30% of that market.25

      Private equity firms acquiring physician practices have focused “heavily in

emergency medicine staffing companies and the ancillary hospital-based

specialties that have been able to leverage out-of-network balance billing as a

profit strategy.”26 In one study, for example, anesthesiologists represented the

highest proportion of physician practice acquisitions (33.1%), from 2013 through




https://tinyurl.com/2w9jcd7e; see also Erin Fuse Brown et al., Private Equity as a
Divining Rod for Market Failure: Policy Responses to Harmful Physician Practice
Acquisitions 27, USC-Brookings Schaeffer Initiative for Health Pol’y (Oct. 2021),
https://tinyurl.com/32km27km; Eileen Appelbaum & Rosemary Batt, Private
Equity Buyouts in Healthcare: Who Wins, Who Loses? 5 (Inst. for New Econ.
Thinking, Working Paper No. 118, 2020), https://tinyurl.com/25d49jcj.
       24
          Jane M. Zhu et al., Private Equity Acquisitions of Physician Medical
Groups Across Specialties, 2013–2016, 323(7) JAMA 663 (Feb. 18, 2020),
https://tinyurl.com/3b9zdsmx.
       25
          Appelbaum & Batt, supra n.23, at 3, 55, https://tinyurl.com/25d49jcj.
       26
          Brown et al., supra n.23, at 11, https://tinyurl.com/32km27km.
                                          17
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2016, followed by emergency physicians (15.8%).27 The focus of private equity

firms on these practices is a direct result of how “surprise medical bills allow them

to extract high payments for medical care from patients and/or insurance

companies”28—and how their ability to surprise bill gives them “greater leverage

in price negotiations with insurers when they are in-network.”29 These tactics have

contributed to rising healthcare costs for patients, as Congress recognized in

passing the Act. See H.R. Rep. No. 116-615, pt. I, at 53-54.

      C.     Congress found that the QPA would help restrain rising
             healthcare costs for patients while fairly compensating out-of-
             network providers.

      By making every conceivable effort to minimize the role of the QPA in the

IDR process, plaintiffs seek to protect the inflated charges and the market

distortions that surprise billing perpetuates at patients’ expense. Patients ultimately

bear the burden of higher healthcare costs in the form of higher premiums and

patient responsibility, such as co-insurance.30 Accordingly, while surprise billing

takes a particularly grave toll on patients facing unexpected liabilities to certain



      27
          Zhu et al., supra n.24, https://tinyurl.com/3b9zdsmx.
      28
          Appelbaum & Batt, supra n.23, at 68-69, https://tinyurl.com/25d49jcj.
       29
          Brown et al., supra n.23, at 12, https://tinyurl.com/32km27km.
       30
          Katherine Baicker & Amitabh Chandra, The Labor Market Effects of
Rising Health Insurance Premiums, 24 J. Labor Econ. 609, 631 (2006) (finding
that “the cost of increasing health insurance premiums is borne primarily by
workers in the form of decreased wages for workers with [employer health
insurance]—so that they bear the full cost of the premium increase”).
                                          18
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out-of-network providers, they are not the only consumers harmed by surprise

billing; the market distortions caused by surprise billing have increased the overall

cost of healthcare services, and “those costs are passed on to enrollees through

higher premiums.”31

      The Act itself requires arbitrators to consider the QPA in the IDR process,

which will help to curb future market distortions by limiting inflated costs and thus

restraining the growth of premiums, benefitting all patients; the Final Rule’s

requirement that arbitrators start with the QPA merely reinforces Congress’s effort

to realize those goals.32 The Congressional Budget Office’s analysis of the Act

confirms that reliance on the QPA would prompt healthcare providers whose rates

are outliers—well surpassing the median—to adjust their rates toward the median,

which “would reduce premiums by between 0.5 percent and 1 percent.”33 Studies

reflect that the role of the QPA in the IDR process significantly affects the IDR

system’s ability to realize these lower costs for patients. Data from New York,

which enacted a statute similar to the No Surprises Act but tied its IDR process to

the 80th percentile of a billed charges database, suggests that an IDR process based


      31
          Duffy et al., supra n.7, https://tinyurl.com/8647t36a.
      32
          See id.; Erin L. Duffy et al., Policies to Address Surprise Billing Can
Affect Health Insurance Premiums, 26(9) Am. J. Managed Care 401 (Sept. 11,
2020), https://tinyurl.com/yc4nhj7a.
       33
          Cong. Budget Office, Estimate for Divisions O Through FF H.R. 133,
Consolidated Appropriations Act, 2021, Public Law 116-260 Enacted on
December 27, 2020 (Jan. 14, 2021), https://tinyurl.com/553pbz8y.
                                          19
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on providers’ “rack rates” results in increased costs that are ultimately passed on to

patients.34 Data from New Jersey, which enacted a comparable statute, suggests

the same.35 Empirical evidence thus confirms the reasoning behind the Act:

designating the QPA as a central consideration in the IDR process will “generally

slow the rapid growth of health care costs, both by lowering costs in the near term

relative to the status quo and by slowing the rate of health care cost inflation in

future years.” H.R. Rep. No. 116-615, pt. I, at 57-58.

      The Final Rule closely tracks the Act, which requires arbitrators to consider

the QPA, by instructing arbitrators to begin their analysis there. That reasonable

interpretation of the statute embodied in the Final Rule will not “unfairly skew IDR

results in insurers’ favor,” as plaintiffs have alleged.36 First, by tying the QPA to

median contracted rates from 2019, the Act defines the QPA to reflect healthcare

market dynamics as they stood before the Act was passed. See 42 U.S.C. § 300gg-

111(a)(3)(E). The QPA thus locks in contracted rates that payors and healthcare

providers negotiated in the market environment distorted by surprise billing—in



      34
          Loren Adler, Experience with New York’s Arbitration Process for
Surprise Out-of-Network Bills, USC-Brookings Schaeffer Initiative for Health
Pol’y (Oct. 24, 2019), https://tinyurl.com/4bfwcc6r.
       35
          Benjamin L. Chartock et al., Arbitration Over Out-of-Network Medical
Bills: Evidence from New Jersey Payment Disputes, 40(1) Health Affairs 130 (Jan.
2021), https://tinyurl.com/2c6zu9u5.
       36
          Pls.’ Mot. for Summ. J. at 2, TMA II (No. 6:22-cv-00372) (E.D. Tex. Oct.
12, 2022), ECF No. 41.
                                          20
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fact, some critics of the Act have argued that its definition of the QPA codifies

payment rates “inflated by the threat of surprise billing” and does not do enough to

remedy the market distortions caused by surprise billing.37 Second, plaintiffs do

not and could not dispute that the Final Rule requires an IDR entity to “consider

[any other qualifying] information submitted by a party” and ultimately “select the

offer that [it] determines best represents the value of the … item or service” at

issue. 45 C.F.R. § 149.510(c)(4)(ii)-(iii). Thus, the Final Rule unquestionably

requires the arbitrator to choose the most appropriate offer based on all permissible

information, including the QPA. Plaintiffs do not explain how that would

“unfairly skew” results in either direction.

III.   REQUIRING THE IDR ENTITY TO START WITH THE QPA
       WILL NOT LEAD TO UNDULY NARROW PROVIDER
       NETWORKS OR IMPEDE PATIENT ACCESS TO CARE.

       There is no evidentiary basis to find that requiring arbitrators to begin their

analysis with the QPA would cause health insurers and health plans to contract

their provider networks to inadequate levels that hinder patients’ access to care.

This is true, in part, because payors have market and regulatory incentives to

maintain robust provider networks.


       37
          Matthew Fielder et al., Recommendations for Implementing the No
Surprises Act, USC-Brookings Schaeffer Initiative for Health Pol’y (Mar. 16,
2021), https://tinyurl.com/4ns2syv9. Tying the QPA to 2019 median contracted
rates, as the Act does, also rebuts any notion that health insurers and health plans
will be able to artificially depress the QPA through future contracting practices.
                                           21
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      A.     Payors have market incentives to maintain broad provider
             networks, which benefit both health plans and patients.

      Plaintiffs’ amici have argued that instructing IDR entities to start with the

QPA would encourage payors to severely restrict their networks to the cheapest

available healthcare providers.38 But they fail to acknowledge the market forces

that encourage broad provider networks. Many health insurers sell broader

networks as a benefit of their health plans, “because their customers value

flexibility when making decisions regarding healthcare.” Methodist Health Servs.

Corp. v. OSF Healthcare Sys., 2016 WL 5817176, at *2 (C.D. Ill. Sept. 30, 2016).

“Large employers,” in particular, “tend to require broad networks to satisfy the

preferences of diverse work forces with a single or small number of insurance

plans,” leading insurers to “contract with the majority of hospitals and physicians

in a market, in order to best compete for the large employer groups that compose

the bulk of the market.”39 Market forces, in other words, discourage health

insurers from unduly narrowing their provider networks, because “plans that do not

have sufficient geographic coverage in a market will have difficulty marketing


      38
         See, e.g., Amicus Curiae Br. by Physicians Advoc. Inst. et al. at 12-13,
TMA II, 2023 WL 1781801 (No. 6:22-cv-00372-JDK) (E.D. Tex. Oct. 19, 2022),
ECF No. 51; Br. Amicus Curiae of Emergency Dep’t Prac. Mgmt. Ass’n at 14-15,
TMA II, 2023 WL 1781801 (No. 6:22-cv-00372-JDK) (E.D. Tex. Oct. 19, 2022),
ECF No. 55.
      39
         Mark A. Hall & Paul B. Ginsburg, A Better Approach to Regulating
Provider Network Adequacy 1, USC-Brookings Schaeffer Initiative for Health
Pol’y (Sept. 2017), https://tinyurl.com/3y43wd6f.
                                         22
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their insurance products to employers and their employees.” FTC v. ProMedica

Health Sys., Inc., 2011 WL 1219281, at *7 (N.D. Ohio Mar. 29, 2011).

      Thus, there remain strong competitive and market forces that incentivize

health insurers to maintain sufficiently broad networks, and there is no reason to

believe that a rule requiring the IDR entity to start its analysis with the QPA would

alter these longstanding market incentives.

      B.     Because of the many benefits associated with provider networks,
             payors remain incentivized to contract with even high-cost
             healthcare providers.

      Aside from the market forces that incentivize payors to maintain broad

provider networks, there are other administrative and operational reasons why

payors prefer to contract with healthcare providers. Contracting with hospitals and

hospital-based providers allows payors to better facilitate disease management and

care coordination for patients, including those with chronic conditions. For

example, network providers are often included in a payor’s utilization and quality

management programs.40 In addition, network contracts allow payors to facilitate

the referral of their members to other network providers where possible, thus




      40
         See Peter R. Kongstvedt, Essentials of Managed Care ch. 4 (6th ed. 2013)
(explaining that a health plan can require a healthcare provider to agree to
cooperate with the plan’s utilization management program and quality
management program, and to agree to the plan’s right to audit clinical and billing
data for care provided to plan members).
                                          23
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improving continuity of care.41 These efforts help to prevent readmissions and

offer more integrated and higher quality care to patients, which in turn reduces

costs to payors.

      Moreover, because network contracts typically set forth the payment rates

that a payor will remit to the healthcare provider for specific services, they afford

the payor certainty on reimbursement rates, which in turn reduces administrative

costs attendant to provider appeals, litigation, and arbitrations.42 Thus, quite apart

from market forces that encourage broader networks, there are many economic

incentives for payors to maintain adequate provider networks and none of those

incentives will be impacted by the Act or the Final Rule.

      C.     State and federal network adequacy requirements ensure that
             payors would not offer unduly narrow provider networks for
             patients.

      State and federal laws offer an additional backstop to the market-based

incentives for health insurers to maintain sufficiently broad provider networks.

Since the mid-1990s, most states have adopted “network adequacy standards that

require[] each network plan to demonstrate that it ha[s] contracted with sufficient

providers throughout its service area.”43 “Today, network adequacy standards are


      41
         See id.
      42
         See id.
      43
         Christen Linke Young et al., The Relationship Between Network Adequacy
and Surprise Billing, USC-Brookings Schaeffer Initiative for Health Pol’y (May
10, 2019), https://tinyurl.com/5n7m5ucn.
                                          24
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in place in all states for most insured products.”44 Federal law has also imposed

network adequacy standards on qualified health plans since 2012.45 Health plans

take network adequacy laws seriously, as do state regulators.46 State insurance

regulators conduct examinations that scrutinize whether health plans offer provider

networks sufficient to serve their patients’ needs.47 Statutory and regulatory

network adequacy requirements are thus designed to ensure that health plans

maintain sufficiently robust provider networks.

      D.     Empirical evidence suggests that prioritizing the QPA—much less
             instructing IDR entities to simply start with it—would not lead to
             unreasonably narrow provider networks or impede patient access
             to care, as plaintiffs allege.

      Empirical evidence suggests that the Final Rule—even as plaintiffs construe

it—would not prompt health insurers to narrow their provider networks to levels


      44
          Id.
      45
          See 42 U.S.C. § 18031(c)(1) (Affordable Care Act provision requiring
HHS to “establish criteria for the certification of health plans as qualified health
plans”); 45 C.F.R. § 156.230.
       46
          See, e.g., Jane B. Wishner & Jeremy Marks, Ensuring Compliance with
Network Adequacy Standards: Lessons from Four States 8, Urban Inst. (Mar.
2017), https://tinyurl.com/bdcxamt2 (“Regulator respondents in all four study
states reported that upon receipt of initial network filings, they had instructed an
insurer to alter a proposed network offer or offer ‘alternative access
accommodations’ to ensure the adequacy of a proposed provider network.”).
       47
          See, e.g., Fla. Off. of Ins. Regul., Target Market Conduct Final
Examination Report of Humana Medical Plan, 2014 FL Market Conduct LEXIS
17, at *15-16 (Oct. 30, 2015) (reporting on plan’s addition of oncologists to satisfy
network adequacy standards); Conn. Ins. Dep’t, Market Conduct Report on Aetna
Health Inc., 2014 CT Market Conduct LEXIS 25, at *35-38 (June 6, 2017)
(examining compliance with network adequacy requirements).
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that impede patients’ access to care. State surprise billing laws that were enacted

before the No Surprises Act offer valuable evidence on this question.

      In 2017, for instance, California enacted a surprise billing law that “requires

fully-insured plans to pay out-of-network physicians at in-network hospitals the

greater of the insurer’s local average contracted rate or 125% of the Medicare

reimbursement rate.”48 On average, contracted rates for all physicians’ services in

California equated to 128% of Medicare rates.49 If plaintiffs’ hypothesis were

correct, California would have experienced a substantial narrowing of provider

networks after passage of this law; indeed, more substantial than they imagine

under the Final Rule, which leaves ultimate decisions to arbitrators’ discretion and

requires them to consider provider-submitted information that the California law

excludes. The data does not bear out that theory, however. One study concluded

that “on average, in-network specialty doctors either remained flat, or increased by

as much as 26%.”50 Another study found “a modest shift toward claims from in-

network service providers across all the affected specialties tied to the law’s


      48
          Loren Adler et al., California Saw Reduction in Out-of-Network Care
from Affected Specialties After 2017 Surprise Billing Law, USC-Brookings
Schaeffer Initiative for Health Pol’y (Sept. 26, 2019), https://tinyurl.com/yckhn54j.
       49
          Bill Johnson et al., Comparing Commercial and Medicare Professional
Services Prices, Health Care Cost Inst. (Aug. 13, 2020),
https://tinyurl.com/mr36a6hu.
       50
          Jeanette Thornton, AHIP, Can We Stop Surprise Medical Bills AND
Strengthen Provider Networks? California Did, Am. J. Managed Care (Aug. 22,
2019), https://tinyurl.com/2th4dbbn.
                                          26
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implementation,” but did not find “similar changes for emergency medicine, which

was unaffected by the law,” a research finding that flatly “contradicts … claim[s]

of widespread diminishing network breadth.”51 The available evidence simply

offers no support for plaintiffs’ allegations of disastrous consequences for patient

access to network providers.

                                    CONCLUSION

      For the foregoing reasons, the Court should reverse the order of the district

court below.




      51
           Adler et al, supra n.48, https://tinyurl.com/yckhn54j.
                                            27
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Dated: July 19, 2023                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on July 19, 2023, a true and correct copy of the

foregoing was filed electronically using the CM/ ECF system, which served

counsel for the parties.



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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R. App. P.

29(a)(5) because this brief contains 6,492 words, excluding the parts of the brief

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